                                                                                                             Case 5:19-cv-00509-PSG-SP Document 3 Filed 03/20/19 Page 1 of 4 Page ID #:117



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                                                                                                         9   Attorneys for Defendant MENTOR WORLDWIDE LLC
                                                                                                        10                            UNITED STATES DISTRICT COURT
                                                                                                        11                           CENTRAL DISTRICT OF CALIFORNIA
                                                                                                        12                                      EASTERN DIVISION
TUCKER ELLIS LLP




                                                                                                        13   BRITTANY BILLETTS, an individual;   )               Case No.: 2:19-cv-02079
                                                                                                             VIVIAN AGUIAR, an individual; ANN )
                                                                                                        14   DELMONICO, an individual; CORNELIA )
                                                                                                             DITTO, an individual; LEAH JOHNSON, )
                                                                                                        15   an individual;                      )               DEFENDANT MENTOR
                                                                                                                                                 )               WORLDWIDE LLC’S NOTICE OF
                                                                                                        16                Plaintiffs,            )               INTERESTED PARTIES
                                                                                                                                                 )
                                                                                                        17         v.                            )
                                                                                                                                                 )
                                                                                                        18   MENTOR WORLDWIDE, LLC; NUSIL, ))                    Complaint Filed: February 22, 2019
                                                                                                        19
                                                                                                             LLC; NUSIL TECHNOLOGY LLC; and )
                                                                                                             DOES 1–100, inclusive,              )
                                                                                                        20                       Defendants.     )
                                                                                                                                                 )
                                                                                                        21

                                                                                                        22         Pursuant to Federal Rule of Civil Procedure 7.1 and Civil Local Rule 7.1-1 of the
                                                                                                        23   Central District of California, the undersigned counsel of record for Defendant Mentor
                                                                                                        24   Worldwide LLC certifies that the following listed parties have a pecuniary interest in the
                                                                                                        25   outcome of this case:
                                                                                                        26       Mentor Worldwide LLC
                                                                                                        27       NuSil, LLC
                                                                                                        28       NuSil Technology LLC
                                                                                                                                                             1
                                                                                                                                     MENTOR WORLDWIDE LLC’S NOTICE OF INTERESTED PARTIES
                                                                                                             Case 5:19-cv-00509-PSG-SP Document 3 Filed 03/20/19 Page 2 of 4 Page ID #:118



                                                                                                         1       Plaintiff Brittany Billetts
                                                                                                         2       Plaintiff Vivian Aguiar
                                                                                                         3       Plaintiff Ann Delmonico
                                                                                                         4       Plaintiff Cornelia Ditto
                                                                                                         5       Plaintiff Leah Johnson
                                                                                                         6   In addition, Mentor Worldwide LLC states the following:
                                                                                                         7         1. Mentor Worldwide LLC is a limited liability company whose sole member is
                                                                                                         8             Ethicon, Inc. Ethicon, Inc. is a New Jersey Corporation wholly owned by
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                                                                                                         9             Johnson & Johnson, which is a publicly held New Jersey corporation. Johnson
                                                                                                        10             & Johnson has no parent corporation and there is no publicly held corporation
                                                                                                        11             that owns 10% or more of Johnson & Johnson’s stock.
                                                                                                        12   These representations are made to enable the Court to evaluate possible disqualification
TUCKER ELLIS LLP




                                                                                                        13   or recusal.
                                                                                                        14   DATED: March 20, 2019                    TUCKER ELLIS LLP
                                                                                                        15

                                                                                                        16                                        By /s/ Monee Takla Hanna
                                                                                                        17                                          Monee Takla Hanna
                                                                                                                                                    Attorneys for Defendant MENTOR
                                                                                                        18                                          WORLDWIDE LLC
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                                                                                                                                    MENTOR WORLDWIDE LLC’S NOTICE OF INTERESTED PARTIES
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                                                                                                         1                               CERTIFICATE OF SERVICE
                                                                                                         2       I declare that I am a citizen of the United States and a resident of Los Angeles,
                                                                                                           California or employed in the County of Los Angeles, State of California. I am over the
                                                                                                         3 age of 18 and not a party to the within action. My business address is Tucker Ellis LLP,
                                                                                                           515 South Flower Street, Forty-Second Floor, Los Angeles, California 90071-2223.
                                                                                                         4

                                                                                                         5        On March 20, 2019, I served the following: DEFENDANT MENTOR
                                                                                                           WORLDWIDE LLC’S NOTICE OF INTERESTED PARTIES on the interested
                                                                                                         6 parties in this action by:

                                                                                                         7
                                                                                                             (X)   ELECTRONICALLY VIA ECF: the above-entitled document to be served
                                                                                                         8         electronically through the United States District Court, Central District ECF
                                                                                                                   website, addressed to all parties appearing on the Court’s ECF service list. A copy
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                                                                                                         9         of the “Filing Receipt” page will be maintained with the original document in our
                                                                                                        10         office.

                                                                                                        11
                                                                                                             (X)   BY MAIL: By placing a true copy thereof enclosed in a sealed envelope(s)
                                                                                                        12         addressed as above, and placing each for collection and mailing on that date
                                                                                                                   following ordinary business practices. I am readily familiar with this business’s
TUCKER ELLIS LLP




                                                                                                        13         practice for collecting and processing correspondence for mailing. On the same
                                                                                                                   day that correspondence is placed for collection and mailing, it is deposited in the
                                                                                                        14
                                                                                                                   ordinary course of business with the U.S. Postal Service in Los Angeles,
                                                                                                        15         California, in a sealed envelope with postage fully prepaid.
                                                                                                        16
                                                                                                                Jennifer A. Lenze, Esq.                      Lowell W. Finson, Esq
                                                                                                        17      Amanda D. McGee, Esq.                        FINSON LAW FIRM
                                                                                                        18      LENZE LAWYERS, PLC                           126 Westwind Mall
                                                                                                                1300 Highland Avenue, Suite 207              Marina Del Rey, CA 90292
                                                                                                        19      Manhattan Beach, CA 90266                    E-Mail: lowellwfinson@gmail.com
                                                                                                        20      E-Mail: jlenze@lenzelawyers.com;
                                                                                                                mcgee@lenzelawyers.com
                                                                                                        21
                                                                                                                                                             Attorneys for Plaintiffs Brittany
                                                                                                        22                                                   Billetts, Vivian Aguiar, Ann
                                                                                                        23                                                   Delmonico, Cornelia Ditto, and
                                                                                                                                                             Leah Johnson
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                                                                                                                                               CERTIFICATE SERVICE
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                                                                                                         1   (X)   I declare that I am employed in the office of the Bar of this Court at whose
                                                                                                         2         direction the service was made.

                                                                                                         3         Executed on March 20, 2019, at Los Angeles, California.
                                                                                                         4

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                                                                                                                                                       /s/ Monee Takla Hanna
                                                                                                         6
                                                                                                                                                       MONEE TAKLA HANNA
                                                                                                         7                                             Attorneys for Defendant
                                                                                                                                                       MENTOR WORLDWIDE LLC
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TUCKER ELLIS LLP




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